                    Case 19-04229                  Doc 47-5          Filed 03/10/20 Entered 03/10/20 11:31:39                          Desc Pay
                                                                        History Page 1 of 1

              EXHIBIT A
Name:                   Fredrick Allen Scollay
BK Case Number:         19-04229                 Modification date          10/1/2019
Filing Date:            2/18/2019                Mod eff date                6/1/2019
Post First Due:         3/1/2019                                                                              Completed By:      Ankith
Post-Petition Due       Date Received            Amount Received   Amount Applied    Suspense Application     Suspense Balance   Comments
                                                     LOAN MODIFICATION ENTERED - FIRST PAYMENT DUE 6/1/2019
             6/1/2019                  9/30/2019 $        3,297.43 $      1,067.16 $                2,230.27 $          2,230.27 Mod suspense
             7/1/2019                  9/30/2019                   $      1,067.16 $               (1,067.16) $         1,163.11
             8/1/2019                  9/30/2019                   $      1,067.16 $               (1,067.16) $            95.95

                                                 LOAN IS POST-PETITION DUE FOR 9/1/2019
Due Date                Total Payment             P&I                 Escrow            Optional Products    NOPC Filed Date
             9/1/2019   $            1,095.39     $           608.21 $         487.18 $                  -
            10/1/2019   $            1,095.39     $           608.21 $         487.18 $                  -
            11/1/2019   $            1,095.39     $           608.21 $         487.18 $                  -
            12/1/2019   $            1,095.39     $           608.21 $         487.18 $                  -
             1/1/2020   $            1,098.17     $           608.21 $         489.96 $                  -           11/20/2019
Total Due               $            5,479.73     $         3,041.05 $       2,438.68 $                  -
